      Case 2:13-cr-00151-EEF-DEK          Document 374        Filed 09/09/14      Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              *       CRIMINAL DOCKET
                                                      *
versus                                                *       No. 13-151
                                                      *
DENNIS C. MORGAN                                      *       SECTION “L” (3)

                                      ORDER & REASONS

         Before the Court is a Motion to Sever filed by Defendant Dennis C. Morgan (Rec. Doc.

299). The Court has reviewed the briefs and applicable law and, after holding a hearing on the

motion, now issues this Order & Reasons.

I.       BACKGROUND

         This case arises out of an alleged conspiracy to distribute drugs. Count 1 of the twenty-

eight-count Second Superseding Indictment charges nine defendants with conspiring to

distribute, and to possess with the intent to distribute, 280 grams or more of cocaine base, in

violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(a) and 846. Defendant

Dennis Morgan is among those nine Defendants. Dennis Morgan is also named in Counts 8, 10

and 11 of the Second Superseding Indictment. Counts 8, 10, and 11 charge Morgan with

knowingly and intentionally using a communication facility, to wit, a telephone, in committing

or facilitating the commission of a violation of Title 21, United States Code, Sections 841(a)(1)

and 846. The other twenty-four counts charge various Defendants with distributing drugs,

possessing firearms, and causing death through the use of a firearm.

II.      PRESENT MOTION

         A.     Motion to Sever (Rec. Doc. 299)




                                                  1
   Case 2:13-cr-00151-EEF-DEK             Document 374        Filed 09/09/14      Page 2 of 11




       On June 23, 2014, Morgan filed the present motion to sever his charges from those

charges that are unrelated to his and/or to sever his trial from that of his co-defendants. (Rec.

Doc. 299). Morgan explains that all of the charges that pertain to him allege violations of the

Federal Controlled Substances Act. Morgan points out that he is not charged with violating the

Federal Gun Control Act or with committing murder. (Rec. Doc. 299-1 at 4). Morgan claims

that the Second Superseding Indictment misjoins the counts charged against him with multiple

unrelated counts charged against his co-defendants. Morgan argues that under Federal Rule of

Criminal Procedure 8(b), severance is warranted because "there is no substantial identity of facts

or participants among the offenses as they relate to Mr. Morgan." (Rec. Doc. 299-1 at 3).

Morgan argues that there is no proof that he was involved in the bulk of the criminal activity that

forms the factual basis for the Second Superseding Indictment. (Rec. Doc. 299-1 at 4). Morgan

claims that Count 1 is misleading in that it indicates that there was one drug conspiracy, when

the indictment really covers multiple, unrelated conspiracies. (Rec. Doc. 299-1 at 4). Morgan

argues that there was no common, illicit purpose shared by him and his co-defendants. (Rec.

Doc. 299-1 at 4). According to Morgan, this fact becomes "glaring" when one looks at the

charges pertaining to firearms and murder. (Rec. Doc. 299-1 at 4). Morgan claims that he had

absolutely nothing to do with the alleged participants and the criminal activities described. (Rec.

Doc. 299-1 at 4). Morgan claims that because the alleged facts regarding the firearms and

murder charges has no commonality with the counts against Morgan, the joinder of those charges

is not proper under Rule 8(b).

       In addition, Morgan argues that severance is warranted under Rule 14(a) because the

prejudice that he will face by being tried jointly with the other co-defendants substantially

outweighs the interest in judicial economy. Morgan claims that he does not even know each of


                                                 2
   Case 2:13-cr-00151-EEF-DEK             Document 374         Filed 09/09/14       Page 3 of 11




the named defendants. (Rec. Doc. 299-1 at 6). Morgan argues that a joint trial will confuse the

jury and increase the chances that he is found guilty merely because he is erroneously included in

an indictment that alleges heinous crimes of his co-defendants. (Rec. Doc. 299-1 at 6).

Furthermore, Morgan argues that joinder of Count 1 with the various drug distribution charges

will confuse the jury and make it impossible to determine the quantity of drugs for which

Morgan is responsible. (Rec. Doc. 299-1 at 6). Last, Morgan argues that a prejudicial "spill

over" effect will result and that the Court will be unable to cure it by issuing special instructions.

(Rec. Doc. 299-1 at 7).

       B.      Government's Response (Rec. Doc. 309)

       In opposition, the Government claims that in September 2012, the Drug Enforcement

Administration and the Kenner Police Department began an investigation into the activities of a

drug trafficking organization in the Lincoln Manner area of Kenner, Louisiana. (Rec. Doc. 309).

According to the Government, during the course of this investigation agents were able to identify

members of the organization and determine their respective roles. The Government claims that

evidence will show that Morgan "was the person responsible for converting over 196 grams of

cocaine hydrochloride into cocaine base for Waltrell Knox." (Rec. Doc. 309 at 2). The

Government explains that several intercepted phone calls indicate that Morgan would convert

cocaine hydrochloride into cocaine base so that it could be distributed around the Lincoln

Manner area. (Rec. Doc. 309 at 2). The Government claims that four street-level distributers of

cocaine base for Waltrell Knox are also co-defendants in this case. (Rec. Doc. 309 at 2-3).

Further, the Government points out that one of those co-defendants is also charged with murder

in Count 16. (Rec. Doc. 309 at 2-3). The Government claims that all of the cocaine base

supplied to these individuals by Waltrell Knox was converted by Morgan. (Rec. Doc. 309 at 3).


                                                  3
       Case 2:13-cr-00151-EEF-DEK         Document 374         Filed 09/09/14      Page 4 of 11




The Government alleges that all of the counts charged in the Second Superseding Indictment

relate to and/or are in furtherance of Count 1. (Rec. Doc. 309 at 4).

          The Government argues that joinder under Federal Rule of Civil Procedure 8(a) is proper.

The Government claims that the propriety of joinder should be evaluated by looking at the initial

allegations of the indictment. (Rec. Doc. 309 at 4). The Government argues that the instant case

falls squarely into the category of cases in which a joint trial of co-conspirators is favored. (Rec.

Doc. 309 at 4). According to the Government, it does not matter that Morgan was not charged in

every count of the indictment because Morgan played an indispensable role in Count 1, the count

around which the entire indictment centers. (Rec. Doc. 309 at 5).

          With respect to Rule 14, the Government claims that this Court should only sever a

defendant if the Court determines that joinder results in prejudice that outweighs the benefit of

judicial economy.      (Rec. Doc. 309 at 6).     The Government argues that severance is only

appropriate when there is a serious risk that a joint trial will compromise a specific trial right of

one of the defendants. (Rec. Doc. 309 at 6) (citing Zafiro v. United States, 506 U.S. 534, 539

(1993)).     The Government claims that Morgan has the burden of proving that without a

severance he will be unable to obtain a fair trial. (Rec. Doc. 309 at 6) (quoting United States v.

Perez, 489 F.2d 51, 65 (5th Cir. 1973)). The Government further argues that this Court can tailor

relief through an appropriate limiting instruction. (Rec. Doc. 309 at 7). The Government claims

that Morgan fails to make any specific showing as to why a jury will be unable to properly

process the evidence against him. (Rec. Doc. 309 at 9-10).

III.      LAW & ANALYSIS

       A. Federal Rule of Criminal Procedure 8




                                                  4
   Case 2:13-cr-00151-EEF-DEK              Document 374         Filed 09/09/14       Page 5 of 11




        Federal Rule of Criminal Procedure 8 provides that "[t]he indictment or information may

charge two or more defendants if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an offense or offenses. The

defendants may be charged in one or more counts together or separately. All defendants need

not be charged in each count." Fed. R. Crim. P. 8(b). "The fact that an indictment does not

charge each [defendant] with active participation in each phase of the conspiracy does not

constitute misjoinder." United States v. Lindell 881 F.2d 1313, 1318 (5th Cir. 1989). "All that is

required is ' a series of acts unified by some substantial identity of facts or participants.'" U.S. v.

Krenning, 93 F.3d 1257, 1266 (5th Cir. 1996) (quoting Dennis, 645 F.2d at 520). "The propriety

of joinder under Rule 8 is determined by the initial allegations of the indictment, which are

accepted as true absent arguments of prosecutorial misconduct." U.S. v. Harrelson, 754 F.2d

1153, 1176 (5th Cir. 1985).

        Morgan argues that the indictment covers several unrelated conspiracies, rather than one

single conspiracy. Morgan argues that the allegations contained in Counts 1, 8, 10, and 11 are

insufficient to connect him to the other defendants. In United States v. Harrelson, the Fifth

Circuit addressed a similar argument. According to the Fifth Circuit, joinder of the count

naming Morgan to those naming his codefendants is proper if "'the indictment alleged all of them

'to have participated in the same act or transaction or in the same series of acts or transactions

constituting an offense or offenses . . . .' Separate conspiracies with different memberships may

still be joined if they are part of the same series of acts or transactions.'" Harrelson, 754 F.2d

1153, 1176 (5th Cir. 1985) (quoting United States v. Grassi, 616 F.2d 1295, 1303 (5th Cir.)).

"Whether the counts of an indictment fulfill the 'same series' requirement is determined by

examining 'the relatedness of the facts underlying each offense . . . [W]hen the facts underlying


                                                   5
   Case 2:13-cr-00151-EEF-DEK             Document 374         Filed 09/09/14      Page 6 of 11




each offense are so closely connected that proof of such facts is necessary to establish each

offense, joinder of defendants and offenses is proper.'" Id. (quoting United States v. Gentile, 495

F.2d 626, 630 (5th Cir. 1974). On the other hand, "[w]hen there is no 'substantial identity of

facts or participants between the two offenses, there is no 'series' of facts under Rule 8(b)." Id.

       In the present case, Count 1 charges Morgan and eight other co-defendants with being

part of a conspiracy to distribute 280 grams or more of cocaine base. (Rec. Doc. 196 at 2).

Counts 3, 4, 5, 13, 15, 18 charge various defendants with actual distribution of a quantity of

cocaine base. (Rec. Doc. 196 at 3-7). Count 2 charges five defendants, all of whom are charged

in Count 1, with conspiring to possess firearms in furtherance of drug trafficking crimes. (Rec.

Doc. 196 at 2). Counts 6, 12, 14, and 25 charge various defendants with possessing firearms in

further of drug trafficking crimes. (Rec. Doc. 196 at 3, 5-6, 10). Counts 7, 8, 9, 10, 11, 19, 20,

21, 22, 23 charge various defendants with knowingly and intentionally using a communication

facility in order to commit or facilitate the commission of the conspiracy charged in Count 1.

(Rec. Doc. 196 at 6-9). Counts 18 and 24 charge defendants with possession of cocaine base

with the intent to distribute. (Rec. Doc. 196 at 7, 10). Counts 26, 27, and 28 charge various

defendants with being a convicted felon in possession of a firearm. (Rec. Doc. 196 at 10-11).

Last, Count 16 charges two defendants with knowingly using and carrying firearms, during and

in relation to the commission of the drug trafficking conspiracy charged in Count 1, and causing

the death of a person through the use of that firearm. (Rec. Doc. 196 at 7).

       Each of the twenty-eight counts involves substantially related facts and participants.

Proof of the conspiracy charged in Count 1 is necessary to establish almost all of the additional

charges. Accepting the allegations in the indictment as true, which the Court must do at this

stage, Harrelson, 754 F.2d at 1176, it is clear that all of the charges relate to and were in


                                                  6
   Case 2:13-cr-00151-EEF-DEK              Document 374         Filed 09/09/14       Page 7 of 11




furtherance of the conspiracy in Count 1. Accordingly, joinder is proper under Rule 8. See also

United States v. Mazella, 782 F.2d 533, 540 (5th Cir. 1986) (finding that joinder was proper

where the defendant was not charged under the RICO or RICO conspiracy counts but his

dealings with his co-defendant allowed the co-defendant to further the criminal enterprise.)

        B.      Federal Rule of Criminal Procedure 14

        It is the general rule "that persons who are indicted together should be tried together."

U.S. v. Michel, 588 F.2d 986, 1001 (5th Cir. 1979). "Joint trials 'play a vital role in the criminal

justice system.'" Zafiro v. U.S., 506 U.S. 534, 537 (1993); see also Krenning, 93 F.3d at 1266

("The interests of efficiency and justice have led to a preference in the federal system for joint

trials of defendants who are indicted together.") However, Federal Rule of Civil Procedure 14

provides that “if the joinder of offenses or defendants in an indictment, an information, or a

consolidation for trial appears to prejudice a defendant or the government, the court may order

separate trials of counts, sever the defendants’ trials, or provide any other relief that justice

requires.” Fed. R. Crim. P. 14(a). The United States Supreme Court has explained that "when

defendants properly have been joined under Rule 8(b), a district court should grant a severance

under Rule 14 only if there is a serious risk that a joint trial would compromise a specific trial

right of one of the defendants, or prevent the jury from making a reliable judgment about guilt or

innocence." Zafiro, 506 U.S. at 539. The United States Court of Appeals for the Fifth Circuit

has explained that "[i]n ruling on a motion to sever, a trial court must balance potential prejudice

to the defendant against the 'public interest in joint trials where the case against each defendant

arises from the same general transaction.'" U.S. v. Simmons, 374 F.3d 313, 317 (5th Cir. 2004).

The Supreme Court noted that "[w]hen many defendants are tried together in a complex case and




                                                   7
   Case 2:13-cr-00151-EEF-DEK              Document 374         Filed 09/09/14      Page 8 of 11




they have markedly different degrees of culpability, this risk of prejudice is heightened." Id. at

539 (citing Kotteakos v. United States, 328 U.S. 750, 774-75 (1946)).

       The Fifth Circuit has explained that "[a] defendant is not entitled to severance just

because it would increase his chance of acquittal or because evidence is introduced that is

admissible against certain defendants." Burton v. U.S., 237 F.3d 490, 495 (5th Cir. 2000) (citing

Zafiro, 506 U.S. at 540). Furthermore, "even where defendants have markedly different degrees

of culpability, severance is not always required if less drastic measures, such as limiting

instructions will suffice to cure the prejudice." Id. (citing United States v. Broussard, 80 F.3d

1025, 1037 (5th Cir. 1996)); see also U.S. v. Bermea, 30 F.3d 1539, 1572 (5th Cir. 1994) ("Any

prejudice created by a joint trial can generally be cured through careful jury instructions.").

       In United States v. Michel, the Fifth Circuit explained that when "the government charges

several defendants with conspiracy and numerous substantive counts, the possibility always

exists that the jury might cumulate the evidence introduced against all to find guilty a defendant

whose connection was only marginal." 588 F.2d 986, 1002-03 (5th Cir. 1979). The Fifth Circuit

determined, however, that the possibility of prejudicial cumulation of evidence could be best

cured by a charge to the jury, warning them to give separate and personal consideration to each

defendant. Id. at 1003. Consistent with the Fifth Circuit's holding in Michel, the Fifth Circuit

has explained that "[i]f the jury can keep separate the evidence that is relevant to each defendant,

even if the task is difficult, and render a fair and impartial verdict as to each defendant, a

severance should not be granted." U.S. v. Ramirez, 145 F.3d 345, 355 (5th Cir. 1998) (citing

United States v. Walters, 87 F.3d 663, 670-71 (5th Cir. 1996)).

       Morgan argues that there will be a prejudicial "spill over" effect if he is tried with his co-

defendants, who are alleged to have committed more serious crimes. Morgan argues that "the


                                                   8
   Case 2:13-cr-00151-EEF-DEK             Document 374         Filed 09/09/14      Page 9 of 11




murder charge is of such an inflammatory nature that the Court will not be able to protect Mr.

Morgan at trial from any prejudice by issuing instructions . . . ." (Rec. Doc. 299-1 at 7). The

Fifth Circuit has found that "the mere presence of a spillover effect does not ordinarily warrant

severance." U.S. v. McCord, 33 F.3d 1434, 1452 (5th Cir. 1994). Morgan must demonstrate

clear, specific and compelling prejudice that will result in an unfair trial if not severed. See U.S.

v. Posada-Rios, 158 F.3d 832, 863 (5th Cir. 1998).

       In United States v. Posada-Rios, the Fifth Circuit addressed a similar argument as the one

made here. In that case, the defendants argued "that they were prejudiced by evidence of crimes

committed by co-conspirators, including gruesome murders, before they joined the conspiracies."

158 F.3d 832, 863 (5th Cir. 1998). The Fifth Circuit stated that "[w]hile the district court must

guard against undue prejudice, it need not protect conspirators from evidence of their

confederates' acts in furtherance of their common illegal aim." Id. (quoting U.S. v. Manges, 110

F.3d 1162, 1174-75 (5th Cir. 1997)).

       The Fifth Circuit's decision in United States v. Erwin is particularly instructive. 793 F.2d

656 (5th Cir. 1986). In that case, the appellants had been charged in a single indictment and all,

except one, were charged with participating in a single conspiracy. Appellants contended that

the district court abused its discretion in not severing all or some of their counts. Appellants

tried to show prejudice by pointing to the fact that a large part of the trial consisted of evidence

of two kidnappings, two beatings, and one killing, none of which appellants were involved in.

793 F.2d 656, 666 (5th Cir. 1986). Appellants claimed that evidence of these activities, which

differed qualitatively from the crimes with which they were charged, poisoned the jury's minds

and made it impossible for the jury to untangle the evidence. Id. With one exception, the Fifth

Circuit disagreed. The Fifth Circuit explained that although evidence of more egregious crimes


                                                  9
   Case 2:13-cr-00151-EEF-DEK             Document 374         Filed 09/09/14      Page 10 of 11




took up a large part of the trial, the rest of the evidence directly pertained to the conspiracy. Id.

The Fifth Circuit also emphasized that the district court repeatedly cautioned the jury about the

proper use of evidence. Id. With respect to one appellant, however, the Fifth Circuit reached a

different conclusion. The Fifth Circuit emphasized that one of the appellants, Grace Davis, was

not named in the conspiracy charge and the charges against her were only peripherally related to

those alleged against the other appellants. The Fifth Circuit stated that "[a]s the trial progressed,

it became increasingly apparent that very little of the mountainous evidence was usable against

her, and almost none of it applied directly. The prejudice she suffered from the joint trial, then,

far outweighed any benefit of judicial economy." Id. The Fifth Circuit held that the district

court abused its discretion in denying her severance motion when she re-urged it at the close of

evidence. Id.

       The charges alleged against Morgan differ from those alleged against appellant Davis in

Erwin. Accepting the allegations in the indictment as true, Morgan is charged with the

conspiracy that forms the basis for all of the other charges in the indictment. The charges against

Morgan therefore directly relate to the charges alleged against his co-defendants. Similar to the

other Erwin appellants, the thrust of the evidence at trial will thus pertain to Morgan, and joinder

is consequently inappropriate at this time.

       As the Fifth Circuit makes clear in Erwin, this Court can revisit this issue as the trial

unfolds if evidence and testimony is presented that is irrelevant to Morgan and inflammatory to

him. See U.S. v. McRae, 702 F.3d 806, 828 (5th Cir. 2012) ("We do not fault the district court

for declining to sever Warren's case before trial, but as the trial progressed, however, and the

evidence and testimony presented became irrelevant and unusable against Warren, and




                                                  10
  Case 2:13-cr-00151-EEF-DEK            Document 374        Filed 09/09/14      Page 11 of 11




increasingly inflammatory to him, we are of the belief that limiting instructions could not

mitigate the prejudice.").

IV.    CONCLUSION

       For the foregoing reasons, IT IS ORDERED that the Motion to Sever (Rec. Doc. 299) is

hereby DENIED.


       New Orleans, Louisiana, this 8th day of September 2014.




                                                       __________________________________
                                                        UNITED STATES DISTRICT JUDGE




                                                11
